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Open Letter

The following is an unbelievable story, perhaps so outlandish to the legal system newcomer, that it
will seem like fantasy. But it is not fiction. It is not the script for a Hollywood movie. It is a real-life,
ongoing event that has happened and continues to happen in my life. I assure you it is 100 percent true.
Evidence proving so will be found on various websites via some links throughout this letter and in
relevant images on this website via other links but also individually viewable in the images folder inside
the evidence folder. This letter may be well written and captivating; however, make no mistake. | hate to
read and write—but | hate fraud, injustice, and corruption even more, all of which are contrary to the very
essence of my being and grate against my moral fabric. What follows is the poster child for fraud,
injustice, and corruption in the Massachusetts courts this century. Fasten your seatbelts. It’s going to be
an incredibly wild ride from here onward.

In the Beginning

Decades ago a particular small claims case, which ] quote from chapter 9 of our book, set the stage for
what would be future experiences of mine in the contraption we call our “justice” system:

“One of the first forays into small claims court by one author had a most unexpected outcome for
exactly this reason. By any layperson’s standards, the case was a ‘slam dunk.’ The coauthor was the
defendant and had written proof, video evidence, and verbal testimony heavily against the plaintiff's
bogus claim. The case was heard by a judge, and the judgment arrived in the mail days later—in
favor of the plaintiff. How could this have happened?

Strangely, what the coauthor-defendant noticed in court is that the plaintiff, a medium-sized
business in Massachusetts named MAP Insulation, had approximately twenty-five to thirty cases
scheduled that day. This was an extraordinary number for just one party since the most any other
party had that same day was just a few. Apparently, dozens of other customers of the business were
also defendants, prospectively totaling hundreds or perhaps thousands over the years if defendant
numbers that day were representative of other days the business was in court as a plaintiff.
Customers were unsatisfied enough not to pay the plaintiff for the shoddy work it had performed for
them. With the plaintiff having such a poor public reputation, it should have been child’s play for any
defendant sued by the company to obtain a judgment in his favor.

However, the exact opposite was true. After some thought, it was simple to understand why. If
the plaintiff was bad as a business in the private sector, then it was good as a customer in the legal
realm. Remember that non-governmental parties except those experiencing a financial hardship and
other special categories of people, individuals unlawfully detained, for instance, have to pay a fee in
order to file a case in court. Doing the additive math for the cost of filing fees for the many cases
brought to that particular court on that single day alone yields the obvious answer. If the court ruled
against the plaintiff in all or most of those cases, what do you suppose the plaintiff would do? It
certainly would not be filing many or any cases in that court, and a decent chunk of change would be
reallocated to a different, more accommodating court as a result.

The moral of the story, as explained in chapter three, is that all is not as it appears in the
judiciary.”

After another case near the beginning of my interactions with the judicial system, a traffic matter in which
a Massachusetts judge completely ignored and violated statutory law, the pattern began to emerge. Not
only was the system ruling against me, but it was breaking its own rules and laws in order to do so, if not
doing things that were borderline criminal.

Fast-forward many years to 2005, and this is where the current nightmare begins. The case that
precipitated my Chapter 7 filing began in the courts in the People's Republic of Massachusetts. 1 was the
plaintiff in that matter. An attorney named Alan Cohen initiated a collections case for nonpayment of

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a $4.313.95 contract. He filed the complaint on December 23rd of that year. On February 14, 2007,
another attorney, Joseph L. Michaud, officially made his appearance to represent the defendant. Instead
of making his appearance with the court immediately after the complaint was filed and responding with
any pleadings within the time allowed by law, he decided to commit many crimes instead. One such
crime was violating Massachusetts law chapter 268 § I3BC1\(c}(v), intimidating a person furthering a
court proceeding, which at that time stated in part:

“Whoever, directly or indirectly, willfully...misleads, intimidates or harasses another person who
is:...a person who is or was attending...any other civil proceeding of any type with the intent to
impede, obstruct, delay, harm, punish or otherwise interfere thereby, or do so with reckless disregard,
with such a proceeding shall be punished by imprisonment in a jail or house of correction for not
more than 2 and one-half years or by imprisonment in a state prison for not more than 10 years, or by
a fine of not less than $1,000 nor more than $5,000, or by both such fine and imprisonment.”

He broke this law, not once, not twice, but at least three times, openly admitting in his own pleadings that
he committed these crimes, but they were also supported by an email from_one of my_atlorneys.
Apparently, he thought it easier to run his mouth, tell lies, and willfully mislead my attorneys in order to
obstruct me from collecting the debt than to actually try to defend the matter legally. Each time ] would
get an attorney to represent me, he would make a phone call, interfere in the same manner, and cause that
person to withdraw from the case. He must have thought this was pretty good. He didn’t have to do any
real work. Ail that was needed was a phone call. After being successful with the first attorney and
realizing the simplicity with which he was able to accomplish his goal, he continued the pattern with my
successive attorneys. The only problem with his reasoning is that he did not consider that his actions
were not only against the due process clause of the United States Constitution and against attorney
rules of professional conduct, but they also constituted criminal acts in Massachusetts.

Michaud also committed multiple counts of perjury, obstructed justice, and was part of a
conspiracy to commit fraud. He broke several federal laws too. Many are shown in the summary of rules
and laws that were violated. Realize that the list is not intended to be exhaustive. There may be
additional civil and criminal laws he and other perpetrators broke that went undetected.

Birth of the Book

Early 2014 saw the genesis of a pioneering protective guide for ordinary Americans, although its
foundation was truly set years earlier. This book, which would soon become Stack the Legal Odds in
Your Favor, began to take form. Since there was not yet any work of its kind in existence and because ]
knew that its content could be misconstrued as legal advice despite any disclaimer in bold lettering on
page ii, I decided to move what little assets | had out of my name and into my mother’s as an insurance
policy, if you will. People don’t buy insurance after a hurricane levels their home; they buy it
beforehand. After being victimized by fraud, injustice, and corruption in the legal system several times
by then—almost too many times to count—I transferred ownership of my Rhode Island condo into my
mother’s name_in July of that year on her birthday. Four different people witnessed the
conveyance: Julie, David, Susan, and William.

The book was a massive undertaking that took well in excess of 3,000 hours to write. Without
my background, a project of its magnitude would have never gotten off the ground. Keep in mind
someone would not write such a work merely for the sake of writing. A person writes this kind of book
when he is furious at corrupt government.

In March of 2016, our groundbreaking guide was finally released and has since received all
positive reviews except for one from Michaud or someone employed by Michaud. Because this work
bravely attacks the very heart of the top problem plaguing the nation, the wildly corrupt legal system, it is
no surprise that the system has continued its assault upon me. Just as Satan finds Christ extremely
threatening, so does the system find me—as well it should. The biggest mistake it has ever made was
taking its foot off my neck and letting me stand.

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Something Is Rotten in the State of Denmark

In 2014 and since my attorney at that time, Leonard Eskenas, was dragging his feet, I filed a motion for
default judgment in the 2005 Massachusetts collections case. Michaud had not legally responded to the
case at that time, so a default judgment was appropriate. I filed a motion for such judgment under
rule 55(b)(1), and $11,271.53 was rightly awarded to me on August 27. 2014.

It is shortly after this time that corruption began to creep into the case because of Michaud and
court personnel and it took on a life of its own. All available evidence points to a conspiracy between
them. After the default judgment issued for me and Michaud learned of it, he promptly called the court
and committed his second known felony, conspiracy against rights, this time with court personnel, by
working with them to vacate the judgment over the phone when no rule allowed for it to be vacated in that
manner. Those personnel and Michaud knew that the default judgment | rightfully obtained against his
client would take full effect according to rule 60(b) “A motion under this subdivision (b) does not affect
the finality of a judgment or suspend its operation” and that | would move to enforce it if they did not act
quickly. Most likely, Michaud could not or would not alter his schedule in order to attend a hearing
before the judgment would become enforceable (and be given the subsequent predetermined ruling in his
client’s favor), so the perpetrators felt this was their best option.

I know Michaud called the court because a package from him was delivered by U.S. mail
on September 30, 2014, to the physical mailing address | gave the clerk by email on August 28, 2014.
The only way Michaud could have possibly known of this address is via contact with the court since this
was not my residential address and hence would not have been searchable in any database. It may not be
against court rules of procedure to contrive the court record and perform political favors or against rules
of professional conduct for a lawyer to ask for them, but it certainly violates my right of due process
under the Fourteenth Amendment.

The court apparently forgot about the existence of the email it had sent to me on September 8,
2014, since it first officially mentions its “error” on the docket—treally a nonexistent error—on September
15, 2014. Coincidentally, this was several days after Michaud filed his motion to vacate judgment
on September 9. 2014. The entry was made on the 15th in order to give the illusion that it was made as a
result of his filing, which confirms engineering of the court record and the conspiracy. The court had to
take some sort of action, albeit illegal, in order to nullify the default judgment given to me; otherwise, |
would have been able to enforce it before the October 29, 2014, hearing. If not for the “judgment” entry
on September 15, 2014, and the email to me on September 8, 2014, the court docket might look perfectly
legitimate around that time frame, with the motion to vacate being filed on September 9, 2014, and then
being granted on November 9, 2014. Note that on that November date, as part of the court’s ongoing
effort to fog the cockpit, it again vacated the judgment already vacated during Michaud’s previous call, as
stated in the email to me, and as entered in the court record on September 15, 2014, maybe to ensure that
it wouldn’t somehow unvacate itself.

Imperative to the foregoing is that the only way a default can legally be set aside in
Massachusetts is for good cause shown under rule 55(c) or by motion under rule 60(b). Since no error
had been made by me in requesting or the court in granting the default judgment and since Michaud had
yet to file anything with the court, no good cause was shown. He did not file his motion until affer the
judgment was vacated. He filed absolutely nothing until he received notice of the judgment. Thus, the
court had no legal justification to vacate.

Although Michaud was doing much behind the scenes before his official appearance shown in the
court record, he could have avoided illegally conspiring with court personnel if he had appeared in the
case earlier when he should have and simply filed pleadings then. Now, in order to perpetuate the whole
charade, he was forced to submit documentation. He filed afraudulent answer and
counterclaim nearly nine years late on October 3, 2014—both were nothing but smoke and mirrors—but
astonishingly the court accepted them. Several other facets of the case smelled no better than
surstré6mming after being left out for several hours on a hot summer day. Hearings were held
clandestinely. I was told not_to contact the court. 1 was denied a trial in clear violation of my

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constitutional rights. Rules and laws were broken top to bottom and across the board, I filed appeals
and petitions for interlocutory relief and sent letters to certain officials. Every single one was
disregarded. Slowly but surely steering the case in the direction they wanted it to go, Michaud and court
personnel successfully and illegally ripped the $11,271.53 judgment out of my hands and awarded his
client a fraudulent judgment in the amount of $32,913.30.

The court docket has been manipulated on many occasions. In addition to the shenanigans
mentioned above in which that precisely happened, court staff also falsely reported that my attorney did
not attend the hearing on October 29, 2014, as my representative in order to make it seem as though
nobody appeared on my behalf thereby justifying the ruling in favor of Michaud's client on November 9,
2014, granting her motion to vacate. Additionally, proof that court employees go back and edit entries in
the past is shown by the second entry on the docket on May 28, 2015. There are other such
“modifications.”

The Deafening Sound of Silence

If you are thinking at this point that someone somewhere in government would step up to the plate and
remedy this travesty of justice, think again. The exact opposite has happened. In concert, the entire legal
system is working against me in order to protect its friends and pretending that fraud, injustice, and
corruption do not exist. The miscreants who are associated with the system don’t like me because I hate
them, but I hate them, as | do all forms of evil, with rock-solid reason.

In the Massachusetts case, I appealed the matter all the way to the Supreme Court of
Massachusetts, but if you use loaded dice, you’re going to get the same result every time. Of course, all
the judges at the appellate level rubber-stamped everything the trial court judges did, all while ignoring
the elephant in the room. All judges in that state swept everything under the rug and committed
misprision of a felony in the process. The courts at all levels ruled against me and my lawyers at least
twenty-one consecutive times, utterly ignoring all evidence I had proving conclusively that fraud,
injustice, and corruption were rampant in my case. The odds of all twenty-one rulings purely by
chance going against me the way they did are 1 in 2,097,152, or a meager 0.000047%, based
on compound probability of events with two possible outcomes.

IT called the Department of Injustice and the Federal Bureau of Iniquity for nearly thirty days
straight sometime near the end of 2017 after previously filing (multiple times with these agencies)
criminal complaints against the responsible individuals. What was the result? Nobody lifted a toxic
finger to help. It seemed that no one wanted to touch Michaud. The reason why will become apparent in
the next section. Phone calls went repeatedly unreturned. After threatening to report one agent to a
supervisor, he finally called me back. He said something to the effect of the damages in a civil case
needing to be over $200,000 in order for them to investigate or take remedial action. To the average
person, these organizations are totally ineffective for doing anything beneficial; however, they are quite
effective for doing everything harmful as I’m witnessing now with the Department of Injustice’s baseless
complaint against me.

I reported the criminal actors to various agencies in Massachusetts: the Commission on Judicial
Conduct and the disciplinary arm of the attorney oversight committee. They continued to circle the
wagons. Judges even went so far as to deny the very existence of fraud. crime, and corruption. I had
spent thousands of hours of my time on the case. In the end, I could hear nothing but the crickets
chirping.

Who Are the Good Guys, and Who Are the Bad Guys?

These days, it is not easy to know who is on “team good” and who is on “team bad.” Individuals are no
longer identifiable with “team good” because of the badge they possess, law practice they own, or black
gown they wear. Conversely, “team bad” is not necessarily comprised of everyone who is incarcerated
since there are far more than 50.000 innocent people serving time in Amerika for crimes they did not
commit. People have lost their livelihoods, their savings, and their homes because of so many corrupt

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and illegal acts at the hands of people in the legal system. The lines between “team good” and “team
bad” have become greatly blurred, if not completely invisible.

In 2018, Michaud was appointed judge, as disturbing as that is. Keep in mind that this is
someone who I caught in a web of lies with his client. Every single pleading from him and every single
argument he has made in court of which I’ve been part, without exception, has been untruthful. It appears
that he is a pathological liar. He also committed several crimes in just the single Massachusetts civil case
in which | battled him—at least five different ones by my count, although I could have likely missed
counting some. He was even sued at least {wice in other civil matters. Understand that Massachusetts is
one of the states that appoint judges. They are not elected there. Political connections weigh heavily into
judicial appointments. Michaud ran for state senate and certainly has political connections. He is friends
with former U.S. Senator Scott Brown, It should now be crystal clear why the system let him act with
impunity. Because he took the bench in 2018, the plan to get him there was probably laid years earlier,
with the red carpet being rolled out accordingly. If he had been prosecuted, it would have put a damper
on his friends nominating him to the court. | alluded to this in the previous section.

Shortly after he gained the bench, one Massachusetts criminal law he violated, 268 § 13B as 1
mentioned earlier and reported in several pleadings and papers, magically changed making that particular
crime he committed no longer a crime. The body of the law was completely rewritten, and even the title
changed from “Intimidating a person furthering a court proceeding” to “Intimidation of witnesses, jurors
and persons furnishing information in connection with criminal proceedings.” Note specifically that the
word “criminal” replaced the word “court,” which means the law as now written would exclude his
interference with my civil case if it were litigated today. Michaud's reasoning was: “If I can't hide the
evidence of one of my crimes, I will simply change the evidence so that it will have an ex post
facto effect.”

To drive home the point that such a change was not coincidental, I’m also responsible for single-
handedly changing a Rhode Island law. A traffic matter in which | was involved was disposed in 2015.
The relevant law at the crux of the matter was § 12-7-19, which in 2016 also magically changed. Note
that this law had no revisions since 1974, and then it was modified in the next legislative session less than
a year after the conclusion of my case. It is not as if this particular law was altered because it was due for
an overhaul or legislators inadvertently overlooked it. Other laws in its chapter had also changed
recently, but not in 2016. The reason for the change becomes obvious when the old and new laws are
compared with the wording particular to my case. The change occurred because I had demanded
compensation of fees and costs that resulted from the unjust case pursued by the town. The state of
Rhode Island basically said, “Yes, we know you're right, but we’re not going to pay you anyway. And,
oh, by the way, we’re going to change the law so that nobody can do it again.”

In that part of the country, everyone ridicules Rhode Island for its corruption. I can tell you with
100 percent confidence that no state in the entire nation holds a candle to the amount of corruption that
Massachusetts has in its courts. I’ve been before at least sixty to seventy judges. The majority have been
in Massachusetts. All except perhaps one or two were corrupt. Incidentally, one of the judges in my case
was named as a co-conspirator in the mail fraud_and racketeering suit brought by federal prosecutors in
U.S. district court in early 2014. The glorified unelected lawyers in black gowns in that state are not the
most upstanding people. Surprisingly, some judges still follow the law, however, as exhibited by the 66
percent of those in Rhode Island who adjudicated my cases. Notably, my experience with one judge in
North Carolina was positive, That judge followed the law. California so far is zero for two.

The Saga Continues

The Massachusetts case has effectively made it all the way into the bankruptcy court. 1 have interfaced
with a great many people and entities associated with the legal system. My chapter 7 petition was only
filed out of necessity. It should have never been filed. The only reason it was filed is that other
individuals forced it to be. Some have committed crimes. Some are part of the legal system. Some
belong in prison. My bankruptcy case is bursting at its seams with fraud—but not where the acting U.S.

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trustee is alleging. Fraud exists in the matter precipitating the chapter 7 petition, that being the
Massachusetts collections case. It also exists in the bankrupcty itself, but the sources of it are the attorney
for the U.S. trustee, the judge, and other government officals behind the scenes.

I’ve been fighting certain criminals for nearly twenty years. Will it continue for another twenty?
Will the bankruptcy court actually follow court rules and the law and grant my discharge as it should
since all case law mandates that any fraudulent judgment must be declared invalid and dismissed? The
bankruptcy court holds the key. I am not the first person to be victimized by fraud, injustice, and
corruption in our illustrious legal system. And I certainly won’t be the last unless everyday people
nationwide begin to apply the principles in my book to protect themselves from the world’s largest crime
syndicate.

As it stands now, the system has committed multiple crimes against me and wants me to pay for
them. I[t has stolen $11,271.53 from me and is attempting to give $32,913.30 to a “creditor’/criminal who
should never see a penny of it—a turnaround of $44,184.83. For the judges, lawyers, and others
associated with this bankruptcy proceeding, all of whom make more than $157,000 per year, it may not
seem like a significant sum. For someone like me who earns less than 1/12 of that per year, it is
enormous. Moreover, it is the reverse of Robin Hood: stealing from the poor and giving to the rich—and
completely against the law. I've always paid people or entities to which I owe debts. That will not
change. | will not pay Parent or Michaud, people to whom I owe no legitimate debt, when they, along
with the legal system, should instead be paying me more than $300,000.00.

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